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                                  NO. 23-10362

                     IN THE UNITED STATES COURT
                  OF APPEALS FOR THE FIFTH CIRCUIT


                     Alliance for Hippocratic Medicine, et al.,
                                Plaintiffs-Appellees
                                          v.
                       Food & Drug Administration, et al.,
                               Defendants-Appellants
                             Danco Laboratories, LLC,
                          Intervenor Defendant-Appellant


On Appeal from the United States District Court for the Northern District of Texas,
                    Amarillo Division, No. 2:22-cv-00223

    BRIEF OF AMICI CURIAE DOCTORS FOR AMERICA AND THE
      REPRODUCTIVE HEALTH COALITION IN SUPPORT OF
                  DEFENDANTS-APPELLANTS


Thomas S. Leatherbury
THOMAS S. LEATHERBURY LAW, PLLC
Cumberland Hill School Building
1901 N. Akard St
Dallas, TX 75201
Tel.: (214) 213-5004
Tom@tsleatherburylaw.com

Counsel for Amici Curiae
Doctors for America and
The Reproductive Health Coalition
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      SUPPLEMENTAL CERTIFICATE OF INTERESTED PERSONS

   1. No. 23-10362, Alliance for Hippocratic Medicine, et al., v. Food & Drug

      Administration, et al.

   2. The undersigned counsel of record certifies that—in addition to the persons

      and entities listed in Appellants’ Certificate of Interested Persons—the

      following listed persons or entities as described in the fourth sentence of

      Fifth Circuit Rule 28.2.1 have an interest in the outcome of this case. These

      representations are made so that the judges of this Court may evaluate

      possible disqualification or recusal.

Amici Curiae
Doctors for America
The Reproductive Health Coalition

Attorneys for Amici Curiae
Thomas S. Leatherbury
Thomas S. Leatherbury Law, PLLC
Christopher J. Morten
Columbia Law School Science, Health & Information Clinic

No publicly traded company has an ownership interest of 10% in any of the entities

listed above.

                                               Respectfully submitted,
                                               /s/ Thomas S. Leatherbury
                                               Thomas S. Leatherbury
                                               Counsel for Amici Curiae Doctors for
                                               America & The Reproductive Health
                                               Coalition

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    I.   INTEREST OF AMICI CURIAE

         Amici Doctors for America (“DFA”) and The Reproductive Health Coalition

(“RHC”) file this Amicus Brief in support of Defendants-Appellants’ emergency

motions for a stay of the district court’s order pending appeal.1

         DFA is a nonpartisan, not-for-profit, 501(c)(3) organization of over 27,000

physician and medical student advocates in all 50 states, representing all medical

specialties. DFA mobilizes doctors and medical students to be leaders in putting

patients over politics to improve the health of patients, communities, and the nation.

DFA takes a special interest in access to affordable care, community health and

prevention, and health justice and equity. DFA focuses solely on what is best for

patients, not on the business side of medicine, and does not accept any funding from

pharmaceutical or medical device companies. This uniquely positions DFA as a

medical organization that puts patients over politics and patients over profits.

         In support of its mission, DFA formed an FDA Task Force to educate,

mobilize, and empower a multispecialty group of clinicians to provide unbiased

expertise in evaluating and responding to the FDA regulatory process in a way that

maximizes meaningful clinical outcomes for patients. To support an FDA that puts

patients first, the FDA Task Force has advocated in support of patient-centered

1This brief is submitted with the consent of all parties. Undersigned counsel for amici curiae
certify that this brief was not authored in whole or part by counsel for any of the parties; no party
or party’s counsel contributed money for the brief; and no one other than amici and their counsel
have contributed money for this brief.

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regulatory reform through public testimony, op-eds, educational meetings with

policymakers, and more. For example, DFA’s FDA Task Force has written letters,

testified, and met with policymakers to advocate for reforms to the Prescription Drug

User Fee Act (“PDUFA”) to make user fee agreements more patient-centered in

order to ensure timely access to drugs and biologic medicines proven to be effective

and safe.2 Recently, the FDA Task Force has also advocated for the addition of

miscarriage3 management as an indication to mifepristone’s label “[t]o ensure access

to the safest and most effective treatments for miscarriage, and to preserve patient

choice in miscarriage management.”4

       The RHC comprises a wide range of health professional associations and

allied organizations, collectively representing over 150 million members, who

advocate with a unified voice to protect access to reproductive care. The RHC was

founded in June 2022 by the executive directors of Doctors for America and the

American Medical Women’s Association. The RHC’s member organizations


2 Written Testimony of Reshma Ramachandran, M.D., M.P.P. at Hearing on “FDA User Fee
Reauthorization: Ensuring Safe and Effective Drugs and Biologics” Subcommittee on Health,
DOCTORS FOR AMERICA (2022),
https://doctorsforamerica.org/written-testimony-of-reshma-ramachandran-m-d-m-p-p-athearing-
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on-health/ (last visited Feb. 7, 2023).
3 The terms “miscarriage” and “early pregnancy loss” are used interchangeably. See American

College of Obstetricians and Gynecologists, ACOG Practice Bulletin No. 200: Early Pregnancy
Loss, 132 OBSTETRICS & GYNECOLOGY e197 (2018).
4 Citizen Petition from the American College of Obstetricians and Gynecologists,

https://emaaproject.org/wp-content/uploads/2022/10/Citizen-Petition-from-the-American-
College-of-Obstetrician-and-Gynecologists-et-al-10.3.22-EMAA-website.pdf (last visited Feb. 7,
2023).

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include Doctors for America, American Medical Women’s Association, ACT

Access, American College of Physicians, American Pediatric Surgical Association,

Civic Health Alliance, Daré Bioscience, Doctors For Fertility, Genius Shield,

Georgia Health Professionals for Reproductive Justice, GLMA: Health

Professionals Advancing LGBTQ+ Equality, Healthcare Across Borders, Indiana

Pelvic Pain Specialists, Medical Students for Choice, National Association of Nurse

Practitioners in Women’s Health, National Coalition on Health Care, National

Medical Association, Nurses for America, Patient Care Heroes, Renalis Health,

Shattering Glass, The Innovators Law Firm, Vot-ER, Women in Medicine®, and

Women in Medicine, Inc. The RHC’s work focuses on a patient’s right to dignity,

autonomy, privacy, and the expectation of a trusted relationship with their clinician;

protection of the clinician’s ethical obligation to provide care, including their access

to comprehensive training; and a commitment to an evidence-based approach to

policy and practice. The RHC supports the rights of all individuals to have access to

the full scope of reproductive healthcare, including abortion.

      Amici have a strong interest in protecting the autonomy of patients and

providers and upholding evidence-based medical care. Amici submit this brief to

highlight the ways in which mifepristone, which has been approved for use in the




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United States for over twenty years,5 supports the practice of physicians across the

United States. The stay of mifepristone’s approval could disrupt medical practice

nationwide, including care for conditions beyond induced abortion, such as the

management of early pregnancy loss.

II.    SUMMARY OF ARGUMENT

       Doctors across the country wish to express to this Court their concerns about

the potential stay of mifepristone’s FDA approval, which could have grave

ramifications. This amicus brief contains first-hand accounts from physicians across

many practice areas about the harms that a stay of mifepristone’s approval could

cause.6 In the series of narratives that follows, providers affirm the safety and

effectiveness of mifepristone; underscore that mifepristone is a standard treatment

option not only for abortion, but also for early pregnancy loss (miscarriage); and

emphasize that the availability of mifepristone is essential to protect patient

autonomy. These accounts, in providers’ own words, describe how loss of access to

mifepristone would jeopardize physicians’ ability to provide safe and effective

healthcare, undermine the patient-physician relationship, and impose upon doctors




5 U.S. Food & Drug Admin. Ctr. For Drug Evaluation & Rsch., Approval Letter for mifepristone
(MIFEPREX) tablets (Sep. 28, 2000),
https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2000/20687appltr.htm.
6 The accounts presented in this amicus brief were provided directly to counsel by the doctors

quoted. All the doctors quoted are members of Doctors for America.

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an unacceptable choice between compliance with their ethical obligations and

compliance with the law.

III.   ARGUMENT

    A. Providers affirm the safety and effectiveness of mifepristone.

       Medical research has consistently demonstrated that mifepristone is safe and

effective and that adverse events and outcomes are exceedingly rare, occurring in

less than a fraction of 1% of cases.7 The safety and effectiveness of mifepristone has

been demonstrated through rigorous investigation conducted prior to the FDA’s

approval of mifepristone and further confirmed by a large volume of scientific

literature published after its approval. Studies supplied to the FDA at the time of

approval in 2000 found adverse events requiring hospitalization in less than 1% of a

sample size of over 2,000 patients.8

       Many studies have shown that serious adverse incidents occur in less than

0.5% of medication abortions in the United States.9 Moreover, adverse events data

tracked by the FDA reveals that mifepristone has a very low mortality rate of 0.65



7
  Kelly Cleland et al., Significant Adverse Events and Outcomes After Medical Abortion, 121
OBSTETRICS & GYNECOLOGY 166, 166 (2013).
8 U.S. FOOD & DRUG ADMIN. CTR. FOR DRUG EVALUATION & RSCH., MEDICAL OFFICER’ S

REVIEW OF AMENDMENTS 024 AND 033 FINAL REPORTS FOR THE U.S. CLINICAL TRIALS
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9 Safety and Effectiveness of First-trimester Medication Abortion in the United States,

ADVANCING NEW STANDARDS IN REPROD. HEALTH (June 2021),
https://www.ansirh.org/sites/default/files/2021-06/medication-abortion-safety_2021_FINAL.pdf.

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per 100,000.10 Mifepristone has a lower mortality rate than other common

medications such as sildenafil (Viagra), which has a mortality rate more than six

times greater than mifepristone, and penicillin, which has a mortality rate three times

greater than mifepristone.11 Furthermore, numerous studies have shown the

combined mifepristone/misoprostol regimen to be more than 95% effective.12 The

providers’ accounts presented here affirm that mifepristone has proven safe and

effective in providers’ practices. If mifepristone were to be made unavailable, it

would not make treatment safer but would instead endanger the health of pregnant

people.

       Dr. Cheryl Hamlin is an obstetrician-gynecologist who now practices in

Massachusetts. She attended medical school at the University of Illinois and

completed her residency at Boston Medical Center. Dr. Hamlin provides a first-hand

account of mifepristone’s safety profile and its ability to expand access to care:

       Mifepristone is widely used both as a medication used to terminate a
       pregnancy as well as for medical management of a miscarriage. While
       misoprostol is widely available globally, the combination of
       mifepristone and misoprostol is more effective. Patients who wish to
       avoid a surgical procedure have the option of medical management for
       both miscarriage and termination of pregnancy or an aspiration

10 Greer Donley, Medication Abortion Exceptionalism, 107 CORNELL L. REV. 627, 651-52
(2022).
11 Id.
12 See, e.g., Melissa J. Chen & Mitchell D. Creinin, Mifepristone With Buccal Misoprostol for

Medical Abortion: A Systematic Review., 126 OBSTETRICS & GYNECOLOGY 12 (2015); Man-Wa
Lui & Pak-Chung Ho, First trimester termination of pregnancy, 63 BEST PRACTICE & RESEARCH
CLINICAL OBSTETRICS & GYNAECOLOGY 13, 20 (2020).

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       procedure. Eliminating the option of mifepristone would significantly
       affect the options and therefore the health of those in need of this
       treatment.

       Patients have a wide range of reasons to choose medication
       management over an aspiration procedure. Some choose medication
       abortion because they are afraid of a surgical procedure. Others, who
       are driving long distances, may not be able to get a ride. They then have
       the option of a procedure without anesthesia.

       Most importantly, mifepristone means improved access to care.
       Outpatient offices which may not have the capability of providing
       aspiration procedures may be able to readily provide medication
       abortion.13 Advanced practitioners and providers other than OB/GYNs
       may be more comfortable providing medical procedures. It can be and
       should be easy for providers to offer medication abortion in the office
       setting.

       As well, there is a mountain of evidence that mifepristone is extremely
       safe. Mifepristone has been used since 2000 in the United States and
       longer in Europe. The risk of serious complications is extremely rare
       and certainly far less likely than the risks of childbirth.14 Most of the
       complications associated with medical abortions are due to the process
       itself, not the mifepristone. Mifepristone blocks progesterone, which
       disrupts the lining of the uterus. This, in fact, is what happens monthly
       to stimulate a menses: sudden withdrawal of progesterone. If
       mifepristone were inadvertently given to a non-menstruating person, it
       would likely have no effect.

       Not having the full range of options to offer my patients would
       adversely affect my patients, potentially delaying care, causing them to

13 Lawrence Leeman et al., Can mifepristone medication abortion be successfully integrated into
medical practices that do not offer surgical abortion?, 76 CONTRACEPTION 96 (2007).
14 Jillian T. Henderson et al., Safety of mifepristone abortions in clinical use, 72 C ONTRACEPTION

175 (2005).

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       require more invasive procedures and subjecting them to the associated
       risks. Mifepristone must remain readily available to those for whom the
       best option is a medication procedure.

       As Dr. Hamlin described, the safety and effectiveness of mifepristone is

substantiated by scientific evidence showing that complications are extremely rare.

A stay of the approval of mifepristone could endanger the health of patients by

curtailing the availability of a safe and effective treatment option and inhibit the

ability of physicians to provide evidence-based treatment grounded in the robust

scientific data proving that mifepristone is safe and effective.

     B. Providers underscore that mifepristone is a standard treatment option
        not only for abortion, but also for early pregnancy loss.

       The most effective treatment option for medication management of early

pregnancy loss includes mifepristone taken in combination with misoprostol.15 For

successful management of early pregnancy loss, mifepristone followed by treatment

with misoprostol is over 83% effective and results in complications requiring blood

transfusion in only 2% of women.16 A stay of the approval of mifepristone would

curtail the availability of an evidence-based treatment that is the safest and best

option for many patients. As physicians describe infra, inaccessibility of




15 Honor Macnaughton, Melissa Nothnagle & Jessica Early, Mifepristone and Misoprostol for
Early Pregnancy Loss and Medication Abortion, 103 AM. FAM. PHYSICIAN 473 (2021).
16 Courtney A. Schreiber et al., Mifepristone Pretreatment for the Medical Management of Early

Pregnancy Loss, 378 NEW ENG. J. MED. 2161, 2161 (2018).

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mifepristone would undermine their ability to provide safe and effective

management of early pregnancy loss.

      Dr. Cynthia Davis is an obstetrician-gynecologist in South Dakota. She

attended medical School at the University of Florida and completed her residency at

the University of Colorado. Dr. Davis conveys the importance of mifepristone for

treating early pregnancy loss and the significant health and ethical harms that would

occur were mifepristone to be removed as an option for treatment:

      I speak from the experience of an obstetrician-gynecologist in a state
      where it has always been very difficult to obtain mifepristone. I am not
      an abortion provider, but I can tell you that the difficulty of obtaining
      this drug in treating pregnancy loss has significantly harmed many of
      my patients. When it is clear that a woman has lost her pregnancy but
      has not passed the tissue, the use of mifepristone combined with
      misoprostol is over 90% effective in resolving the missed pregnancy
      loss, compared to the 75% success rate of misoprostol alone. Given how
      common first-trimester pregnancy loss is, this treatment delay, often
      resulting in significant bleeding, infection, and psychological trauma,
      is devastating. I have seen this result in women requiring blood
      transfusions and surgeries they otherwise would not have needed. I
      have seen women avoid any future pregnancies for fear of this
      situation’s recurring trauma.

      Of course, other options exist to treat the clinical situations mentioned
      above. However, expectant management can result in acute bleeding
      episodes, increased risk of infection, anxiety, and depression, which I
      have witnessed in multiple patients over the years. Surgical
      management is often more expedient for clinical management. Still,
      there are risks, including bleeding, infection, uterine scarring resulting
      in infertility, and uterine perforation with possible damage to the bowel,


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      bladder, or blood vessels. In addition, the costs associated with surgical
      management are often more than the family can absorb.

      And although there can be complications related to any medication, I
      have found mifepristone to be effective and safe in my many years of
      experience (over 30 years). It is heartbreaking to watch a family go
      through the difficulties related to pregnancy loss and, more so, to watch
      harm come to our women patients. Interference in the doctor-patient
      relationship by removing mifepristone as an approved drug disrespects
      a woman’s autonomy and the sacred relationship between doctor and
      patient, much less the expertise in a physician's medical training.

      Dr. Amy Kaleka is a family medicine provider in Wisconsin. She attended

medical school at Central America Health Sciences University and completed her

residency in family medicine at Virginia Tech Carilion School of Medicine. Dr.

Kaleka explains the harms that inaccessibility of mifepristone would have on the

management of early miscarriage, for which a standard treatment involves

mifepristone:

      I am a family medicine and obstetrics provider in a state where an
      abortion ban already exists and has resulted in unsafe care for pregnant
      patients as it is, but a ban on mifepristone would prevent me from being
      able to safely manage miscarriages in early pregnancy without
      hospitalizations. Having to stop providing abortion care to patients in
      Wisconsin for the past six months has revealed further difficulties for
      patients in rural settings, which are the same settings where no
      maternity wards exist in the hospital. These patients are now being
      forced to birth, so the risks of bleeding and poor fetal and maternal
      outcomes have significantly risen. Mifepristone is vital to providing
      safe care for early pregnancy loss.



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          Increasing restrictions on medications that can improve safety
          outcomes of pregnant patients will inevitably lead to worse maternal
          outcomes. As providers, we do our best to perform safe and high quality
          care to prevent complications. The availability of mifepristone allows
          me to provide safe and high quality miscarriage management care to
          patients, reducing their likelihood of complications which ultimately
          reduces health care costs by avoiding hospitalizations. The use of this
          medicine is vital for medication management of miscarriages per the
          latest medical guidelines.17 I hope to continue to provide safe obstetric
          care, which involves mifepristone as an option for pregnant patients for
          both miscarriage and abortion care.

          As Dr. Davis and Dr. Kaleka highlight, mifepristone is critical for managing

early pregnancy loss. Loss of FDA approval of mifepristone could result in

misoprostol being the only option for management of early pregnancy by

medication. Medicine is practiced as a shared decision-making process between the

physician and patient. For certain patients, mifepristone and misoprostol in

combination may be the best option based on their individual therapeutic and

psychological needs. For other patients, offering misoprostol alone or pursuing

expectant or surgical management might be the indicated course of care that a

physician and their patient agree upon. A stay of FDA approval of mifepristone

could limit providers’ ability to provide the evidence-based care that is best for

individual patients, worsening maternal outcomes.




17   Id. at 2162.

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     C. Providers emphasize that the availability of mifepristone is essential to
        protect patient autonomy.

        Respect for patient autonomy is a core tenet of physicians’ professional ethics.

The principle of respect for patient autonomy “acknowledges an individual’s right

to hold views, to make choices, and to take actions based on her own personal values

and beliefs.”18 Respect for patient autonomy requires respect for the right of patients

to make their own health care choices. It is therefore critical, and central to medical

ethics, that patients have the option to choose the treatment that best suits them.

        For many patients, a combined mifepristone/misoprostol regimen is the best

option. Patients may prefer or require medication abortion over surgical abortion for

a variety of reasons, including pre-existing medical conditions, privacy, time

constraints, transportation, the desire to avoid an invasive procedure, or other

practical concerns. For instance, patients who are victims of abuse, including rape

or incest, may prefer medication abortion to avoid retraumatization.19

        Dr. H.Y. Stephanie Liou is a pediatrician in Chicago. She attended medical

school at the University of Washington School of Medicine and completed her

residency in pediatrics at the University of Chicago Comer Children’s Hospital. Dr.


18 American College of Obstetricians and Gynecologists, ACOG Committee Opinion No. 390,
December 2007. Ethical decision making in obstetrics and gynecology, 110 OBSTETRICS &
GYNECOLOGY 1479, 1481 (Dec. 2007, reaff’d 2016).
19 See Decl. of Katherine B. Glaser, M.D., Ex. 7, at 6, Alliance for Hippocratic Medicine et al v.

U.S. Food and Drug Administration et al., No. 2:22-cv-00223 (N.D. Tex. Jan. 13, 2023), appeal
docketed, No. 23-10362 (5th Cir. Apr. 10, 2023), ECF No. 28. (Defendants-Appellants’
Add.338, at Add.343.)

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Liou describes the importance of pregnant persons’ ability to make autonomous

medical decisions and the unique harms that could result to children and families if

mifepristone was made inaccessible.

       I became a pediatrician because I love caring for children of all ages,
       from newborns to teenagers, and building relationships with families. I
       have also witnessed how physically and emotionally difficult it is to be
       a parent. Much of the rhetoric around abortion ignores the reality that
       many women wish to end a pregnancy because they are seeking to be
       the best possible mother to the children they already have. My patients’
       mothers are sole breadwinners, unable to take time off from work. They
       already have children with special needs, who require round-the-clock
       attention. Others have already risked their lives for motherhood due to
       medical conditions that make pregnancy incredibly dangerous and have
       cried with me about their fear of leaving their child without a mother.
       Studies have shown that women who are turned away from receiving
       an abortion are more likely to experience bankruptcy or eviction,
       become or remain victims of physical violence, and develop life-
       threatening pregnancy complications such as eclampsia and
       hemorrhage.20 Their resulting children are also more likely to live in
       poverty and have poorer developmental outcomes.21 This is why I
       believe it is crucial that all pregnant people are afforded the right to
       choose whether they wish to carry out a pregnancy.

       One of my patients was a young toddler who had been diagnosed with
       asthma after numerous hospitalizations. His mother, a single parent,
       was struggling to make ends meet. She unexpectedly became pregnant
       and, after much thought and prayer, decided the right thing to do as a
       mother was to have an abortion. She was already stretched thin trying

20 The Harms of Denying a Woman a Wanted Abortion Findings from the Turnaway Study,
ANISH,
https://www.ansirh.org/sites/default/files/publications/files/the_harms_of_denying_a_woman_a_
wanted_abortion_4-16-2020.pdf (last visited April 10, 2023).
21 Id.


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       to give her toddler his medications multiple times a day while working
       two jobs to move out of their old, mold-filled apartment. Thanks to safe
       and timely access to mifepristone and misoprostol, she had an
       uneventful medical abortion at home while continuing to care for her
       son. Recently, she had her second child—a healthy baby boy—who was
       welcomed to this world by a very excited older brother in their
       beautiful, clean new apartment.

       As a pediatrician in a country with one of the highest adolescent birth
       rates (as a result of inconsistent access to sex education and
       contraception), I have also witnessed firsthand how making
       mifepristone inaccessible would disproportionately affect adolescents.
       Approximately 1/3 of pregnant teenagers in the United States choose
       abortion, which accounts for around 9% of all abortions.22 My teen
       patients depend on medication abortion, given the added cost, time,
       travel, and logistical support needed to receive a surgical procedure.
       Multiple large-scale studies involving thousands of adolescents across
       the world have demonstrated that medication abortion with
       mifepristone and misoprostol is safe and effective in this age group.23

       On the other hand, adolescent pregnancy and parenting pose significant
       short- and long-term risks to the physical and emotional health of the
       mother and the child. My clinical experiences are supported by a large
       body of research, which shows lower rates of school completion, higher
       rates of single motherhood, higher rates of preterm birth and low birth
       weight, increased rates of incarceration among male children, and
       increased rates of teen motherhood among female children born to
       adolescent mothers.24 Without safe access to mifepristone, our nation’s

22 Rachel H. Phelps, Eric A. Schaff, Stephen L. Fielding, Mifepristone Abortion in Minors, 64(6)
CONTRACEPTION 339, 339 (2001); Katherine Kortsmit et al., Abortion Surveillance – United
States, 2019, 70(9) SURVEILLANCE SUMMARIES 1, 13 (2021).
23 Adolescents: Safety and Effectiveness, IPAS, https://www.ipas.org/clinical-

update/english/recommendations-for-abortion-before-13-weeks-gestation/adolescents-safety-
and-effectiveness/ (last visited April 10, 2023).
24 SAUL D. HOFFMAN & REBECCA A. MAYNARD, KIDS HAVING KIDS: ECONOMIC C OSTS AND

SOCIAL CONSEQUENCES OF TEEN PREGNANCY (2d ed. 2008).

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       most vulnerable patients—children and adolescents—are the ones who
       will suffer the most. This is the absolute opposite of health equity.

       Dr. Andrea Palmer is an obstetrician-gynecologist who lives and practices in

Texas. She attended medical school at the University of Oklahoma College of

Medicine and completed her residency at the University of Oklahoma Health

Sciences Center. Dr. Palmer wishes to share with the Court an example of how loss

of access to mifepristone would provide women with even fewer options following

sexual assault or rape, restricting patient autonomy25:

       As I glanced at my schedule, I noticed with delight a familiar patient,
       Josie,26 scheduled for a new OB appointment. However, the moment I
       walked in the room, I knew this was not a typical new pregnancy visit.
       Josie’s appointment brought unexpected and devastating news. Two
       weeks ago, she had joined a group of girlfriends for a night out to
       celebrate a coworker’s birthday. Like any dedicated infertility couple,
       she and her husband had been timing their intercourse around her
       ovulation time and had sex that day. Tragically, that night of celebration
       ended with her as a victim of the most personally violating crime. That
       night she was drugged and raped.

       Like most rape victims, Josie had stayed silent about her assault. Now
       two weeks after living with the shame, guilt, and pain of her attack she
       found out she was pregnant. Months and months of trying, years of
       hoping, and dozens of negative pregnancy tests later, and this was the
       one that was positive. Josie could not know who the father of this
       pregnancy was—her husband or the rapist. Obviously if this pregnancy


25 A version of Dr. Palmer’s account was originally published on Medpage Today: Andrea
Palmer, Abortion Restrictions Rob Our Patients of Self-Determination, MEDPAGE TODAY (2022),
https://www.medpagetoday.com/opinion/second-opinions/98103 (last visited Feb 7, 2023).
26 Patient names have been changed to protect their privacy.


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were conceived with her husband, this would be the beginning of the
next phase of their life together. But there was an unfortunate chance
that this pregnancy was a product of rape. Understandably, she could
not bear the thought of carrying that pregnancy to term.

The soonest paternity could have been established was 7 weeks
gestation. However, Josie lives, and I practice, in Texas. This was
November 2021, just a few months after passage of SB8 which banned
abortion in the state of Texas after 6 weeks. As Josie and I cried
together, we reviewed her options. She could choose to terminate now,
but time was running out. At this point, she was just over 4 weeks
gestation. She could choose to wait and determine paternity, but if she
were pregnant as a product of her rape, she would need to travel out of
state for termination. This was not something that she had the resources
to do. She could not afford the time off work interstate travel would
have required, and the waitlist for appointments in surrounding states
was growing daily. Waiting was not an option for her. Carrying a
pregnancy and raising a baby that was a product of rape from a random
stranger was not an option for her. Josie sought out medication abortion
before her sixth week.

Josie barely had time to begin to process the trauma of her attack before
she had to make an unwinnable, unfathomable choice. Her most
precious dreams were stolen by a rapist, and her agency and options for
self-determination were stolen by a legislature out to limit access to
reproductive care without thought of the innumerable consequences
they could not fathom, because they do not have to. Without access to
mifepristone, more women may be forced to make unwinnable,
unfathomable choices of their own.

The millions of nuanced reasons that women seek and consider
abortion, sometimes ending very desired pregnancies, should be
considered. The decision about pregnancy should be left to women and
the doctors who counsel them, care for them, cry with them, celebrate
and mourn with them.

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       As Dr. Liou and Dr. Palmer describe, respect for patient autonomy requires

respect for the right of patients to make the difficult and nuanced choice to obtain a

medication abortion. A stay of the FDA approval of mifepristone would intrude into

the patient-physician relationship and deny patients the ability to make autonomous

medical choices.

IV.    CONCLUSION

       For the foregoing reasons, DFA respectfully asks the Court to grant

Defendants-Appellants’ motions to extend the administrative stay and subsequently

stay the district court’s order pending appeal.

Dated: April 11, 2023                                Respectfully submitted,27

                                            By:      /s/ Thomas S. Leatherbury
                                                     Thomas S. Leatherbury
                                                     THOMAS S. LEATHERBURY LAW,
                                                     PLLC.
                                                     Cumberland Hill School Building
                                                     1901 N. Akard St
                                                     Dallas, TX 75201
                                                     Tel.: (214) 213-5004
                                                     Tom@tsleatherburylaw.com
                                                     Counsel of Record
                                                     Counsel for Amici Curiae Doctors for
                                                     America & The Reproductive Health
                                                     Coalition


27Counsel thanks the Columbia Law School Science, Health & Information Clinic for its many
contributions to this brief and associated papers, including clinic students Emily M. Davidson,
Matthew R. Tracy, and David O. Ratnoff and clinic director Christopher J. Morten.

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                         CERTIFICATE OF SERVICE

      I hereby certify that on April 11, 2023, I electronically filed the foregoing

with the Clerk of the Court for the United States Court of Appeals for the Fifth

Circuit by using the appellate CM/ECF system. I further certify that all participants

in the case are registered CM/ECF users and that service will be accomplished by

the appellate CM/ECF system.


                                                /s/ Thomas S. Leatherbury
                                                Thomas S. Leatherbury
                                                Counsel of Record
                                                Counsel for Amici Curiae Doctors for
                                                America & The Reproductive Health
                                                Coalition




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                      CERTIFICATE OF COMPLIANCE

      This brief contains 4,475 words, as determined by the word-count function of

Microsoft Word, excluding the parts of the brief exempted by Fed. R. App. P. 32(f).

In their attached motion for leave, amici curiae Doctors for America and The

Reproductive Health Coalition have included a request for leave to submit an amici

curiae brief of 4,475 words.

      This brief complies with the typeface requirements of Fed. R. App. P.

32(a)(5)(A) and the type style requirements of Fed. R. App. P. 32(a)(6) because it

has been prepared in a proportionally spaced typeface in Times New Roman font

size 14.

                                               /s/ Thomas S. Leatherbury
                                               Thomas S. Leatherbury
                                               Counsel of Record
                                               Counsel for Amici Curiae Doctors for
                                               America & The Reproductive Health
                                               Coalition




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